                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


   STATE OF NEW JERSEY, et al.,

                                   Plaintiffs,
                             v.
                                                             CIVIL ACTION
   PRESIDENT DONALD TRUMP, et al.,
                                                             1:25-cv-10139
                                   Defendants.




      MOTION BY THE STATE OF IOWA AND 17 OTHER STATES FOR LEAVE
        TO FILE AMICUS CURIAE BRIEF IN SUPPORT OF DEFENDANTS


       The State of Iowa and 17 other States respectfully move for leave to submit the attached

amicus curiae brief in support of Defendants. Proposed Amici are States with a vested interest in

ensuring the proper interpretation of the Constitution. Plaintiffs’ incorrect interpretation of the

Citizenship Clause of the United States is a strong incentive for illegal immigration and birth

tourism in the hope of providing children with citizenship. That increased illegal immigration has

serious costs on the States. Indeed, given that the Plaintiffs in this case are also States, amici’s

perspective ensures that the Court is aware of strong counterarguments from States as to how their

position may affect State interests.

       Federal district courts possess the inherent authority to accept amicus briefs. Boston Gas

Co. v. Century Indem. Co., 2006 WL 1738312, at *1 n.1 (D. Mass. 2006). The role of an amicus

curiae “is to assist the court in cases of general public interest by making suggestions to the court,

by providing supplementary assistance to existing counsel, and by ensuring a complete and plenary

presentation of difficult issues so that the court may reach a proper decision.” Students for Fair

Admissions, Inc. v. President & Fellows of Harvard Coll., 308 F.R.D. 39, 52 (D. Mass. 2015)
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(internal quotations omitted). Indeed, federal district courts “frequently welcome amicus briefs

from non-parties concerning legal issues that have potential ramifications beyond the parties

directly involved.” NGV Gaming, Ltd. v. Upstream Point Molate, LLC, 355 F.Supp.2d 1061, 1067

(N.D. Cal. 2005).

        No Federal Rule or statute dictates how district judges decide petitions to appear as amicus

curiae. But most courts “look to the Federal Rules of Appellate Procedure for guidance on

permitting amicus briefs.” Friends of Animals v. United States Fish & Wildlife Serv., 2021 WL

4440347, at *1 (D. Utah 2021). The Federal Rules of Appellate Procedure allow a State to file an

amicus brief “without the consent of the parties or leave of court.” Fed. R. App. P. 29(a)(2). That

rule reveals a strong policy preference for allowing States to provide their perspective and

represent their interests.

        Defendants raise serious concerns relating to Plaintiffs’ standing to bring this suit. But none

of those concerns extend to the traditional role of amici—nonparties acting as friends of the Court

to bring their unique perspective to highlight foreseeable consequences of the Court’s actions.

        Because of the States’s important role in our Constitutional order in our federalist system,

the States have a unique perspective “that can help the court beyond the help that the lawyers for

the parties are able to provide.” Ryan v. Commodity Futures Trading Comm’n, 125 F.3d 1062,

1064 (7th Cir. 1997). This Court would benefit from following the guidance of the Federal Rules

and granting the motion.

                                          CONCLUSION

        For the above reasons, the State of Iowa and 17 other States request the Court’s leave to

file an amicus brief.




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Dated: February 3, 2025                              Respectfully submitted,

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                                                        Counsel for Amicus Curiae State of Iowa




                                   CERTIFICATE OF SERVICE

          I certify that on February 3, 2025, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system, which automatically sends email notification of such filing to

registered participants. Any other counsel of record will receive the foregoing via email in PDF

format.


                                                                /s/ Nathaniel M. Lindzen
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